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                EXHIBIT B
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          STATE OF NEW YORK : SUPREME COURT
          COUNTY OF NIAGARA
          MARGARET PALUMBO and LEROY CHEEK JR.,                                 Index No.
          as Proposed Administratrix of the
          Estate of LEROY CHEEK, III, Deceased                                   SUMMONS

                                 Plaintiffs,                                    Plaintiff designates
          vs                                                                    Niagara County as place
                                                                                of trial.
          COUNTY OF NIAGARA
          Niagara County Courthouse, 3rd Floor                                  The basis of venue is
          175 Hawley Street                                                     CPLR §504
          Lockport, New York 14094
                                                                               Cause of action arose in
          NIAGARA COUNTY SHERIFF MICHAEL J. FILICETTI,                         Niagara County
          in his individual and official capacity as Sheriff of Niagara County,
          5526 Niagara Street Extension, P.O. Box 496
          Lockport, New York 14094

          PRIMECARE MEDICAL OF NEW YORK, INC.
          3940 Locust Lane
          Harrisburg, Pennsylvania 17109

          PRIMECARE MEDICAL, INC.
          3940 Locust Lane
          Harrisburg, Pennsylvania 17109

          DR. ANA NATASHA CERVANTES
          465 Tiburon Lane
          Amherst, New York 14051

          NIAGARA COUNTY SHERIFF’S DEPUTIES JOHN DOES 1-5
          5526 Niagara Street Extension, P.O. Box 496
          Lockport, New York 14094

                         Defendants.
          TO THE ABOVE-NAMED DEFENDANTS:

                  YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
          copy of your answer, or, if the Complaint is not served with this Summons, to serve a notice of
          appearance, on the Plaintiff’s Attorneys within TWENTY (20) DAYS after the service of this
          Summons, exclusive of the day of service (or within THIRTY (30) DAYS after the service is
          complete if this Summons is not personally delivered to you within the State of New York); and in
          case of your failure to appear or answer, judgment will be taken against you by default for the relief
          demanded in the Complaint.




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                                                    PENBERTHY LAW GROUP LLP
             DATED: May 25, 2023
                    Buffalo, New York               By:_s/Brittanylee Penberthy, Esq._______
                                                    Attorneys for Plaintiffs
                                                    227 Niagara Street
                                                    Buffalo, New York 14201
                                                    (716) 803-8402
                                                    bpenberthy@thepenlawgroup.com




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          STATE OF NEW YORK: SUPREME COURT
          COUNTY OF NIAGARA

          MARGARET PALUMBO and LEROY CHEEK JR.,
          as Proposed Administratrix of the
          Estate of LEROY CHEEK, III, Deceased

                                                Plaintiffs,
                                                                              COMPLAINT
          vs.
                                                                              Case No.:
          COUNTY OF NIAGARA
          Niagara County Courthouse, 3rd Floor                                The basis of venue is
          175 Hawley Street                                                   CPLR §504
          Lockport, New York 14094
                                                                               Cause of action arose in
          NIAGARA COUNTY SHERIFF MICHAEL J. FILICETTI,                         Niagara County.
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          NIAGARA COUNTY SHERIFF’S DEPUTIES JOHN DOES 1-5
          5526 Niagara Street Extension, P.O. Box 496
          Lockport, New York 14094

                                        Defendants.
          __________________________________________

                1. Plaintiffs, above-named, by their attorneys, Penberthy Law Group, LLP, for their

          Complaint against the above-captioned Defendants, alleges as follows:

                                          JURISDICTION AND VENUE




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             2. This is a civil action seeking damages for constitutional violations, actionable under 42

          U.S.C. § 1983, and the Eighth and Fourteenth Amendments to the United States Constitution, and

          for New York State law claims resulting in personal injuries due to negligence, medical

          malpractice, and wrongful death.

             3. Venue is proper in this county as the matter involves a claim against such county, pursuant

          to CPLR § 504.

                                                     PARTIES

             4. The Plaintiffs, MARGARET PALUMBO and LEROY CHEEK JR., are anticipated

          Administratrix of the Estate of LEROY CHEEK, III, deceased. An application for the estate has

          been filed prior to the commencement of this action, requesting authorization to pursue the causes

          of action stated herein this Complaint.

             5. Plaintiff MARGARET PALUMBO resides in Erie County, New York.

             6. Plaintiff LEROY CHEEK JR resides in the State of Alabama.

             7. The decedent, LEROY CHEEK JR, died on February 26/27, 2022, while in custody of the

          Niagara County Jail.

             8. Defendant Niagara County (“County”) is a municipal corporation organized and existing

          under and by virtue of the laws of the State of New York.

             9. The County and or it’s Sheriff’s Office at all times herein operated, managed, maintained,

          supervised and controlled the Niagara County Jail, which is a governmental facility of the County,

          and is located at 5526 Niagara Street Extension, Lockport, New York 14094.

             10. Defendant Niagara County Sheriff Michael J. Filicetti (“Filicetti”) was the Sheriff of

          Niagara County during Leroy Cheek, III’s Incarceration. At all relevant times to this case, he was

          responsible for training and supervision of Niagara County Jail Deputies, Correction Officers,




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          and/or Personnel, as well as for creating the policies, practices, and procedures at Niagara County

          Jail. He is alleged to have been acting, at all times relevant to this case, in his individual capacity

          and under the color of law within the meaning of 42 U.S.C. § 1983. Sheriff FILICETTI is sued in

          both his individual and official capacity.

             11. Sheriff Filicetti, as the Sheriff of Niagara County, is responsible for the day-to-day

          operations of Niagara County Jail, including the promulgation, implementation and maintenance

          of Niagara County Jail. In his official capacity as Sheriff, he has the custody, control, and charge

          of Niagara Jail, and the inmates confined within.

             12. Filicetti and those employed by Niagara County Sheriff’s Office were responsible for the

          various day-to-day operations of the Niagara County Jail, and the safe keeping of inmates Filicetti

          and those employed by Niagara County Sheriff’s Office were also responsible for the training,

          supervision, hiring and retention of Sheriff’s sergeants, lieutenants, deputies, correction officers,

          and personnel engaged in the custody, safekeeping, and detention of Leroy Cheek, III during his

          period of custody.

             13. Through at least February 27, 2022, when he was found, Plaintiff Decedent Leroy Cheek,

          III was in the custody of the County, under the control of Filicetti and those employed by Niagara

          County Sheriff’s Office.

             14. Niagara County Sheriff’s Deputies John Does 1-5, said being Niagara County Sheriff

          Deputies and/or Correction Officers (“Officers”), whose identities are presently unknown, were

          employed by Niagara County at Niagara County Jail during Leroy Cheek, III’s incarceration. They

          are alleged to have been acting, at all times relevant to this case, in their individual capacities and

          under the color of law within the meaning of 42 U.S.C. § 1983.




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              15. The Officers were persons engaged in the custody, care, safekeeping, and detention of

          Plaintiff Decedent Leroy Cheek, III.

              16. Upon information and belief, Sheriff Filicetti, as the Sheriff of Niagara County, is charged

          by the laws of the State of New York with maintaining the Niagara County Jail, and is responsible

          for all conditions of confinement, health, safety and medical care and treatment of persons

          incarcerated herein.

              17. That as “policymakers”, Defendants Niagara County and Sheriff Filicetti were aware that

          those working at the Niagara Jail would encounter inmates with mental health disorders, prior

          history of self-injurious behavior, high stress and/or anxiety, and those dependent upon and

          withdrawing from addictive drugs or alcohol. They were also aware that those individuals were at

          a heightened risk of suicide and were aware that failure to make adequate provision for same could

          result in attempted suicide or suicide of inmates. They were further aware that the training and

          imposition of proper guidelines were essential to ameliorate this risk. They were also aware that

          the failure or inadequacy of said training would result in the deprivation of an inmate’s

          constitutional rights.

              18. Upon information and belief, Defendants Niagara County and Sheriff Filicetti contracted

          with a company called Primecare Medical of New York, Inc. and Primecare Medical, Inc. to

          provide health care services for Niagara County Jail. Said contract was entered into by Defendant

          Niagara County and Sheriff Filicetti by resolution of the Niagara County Legislature authorizing

          said contract on July 25, 2016, by resolution number CSS-043-16.

              19. Upon information and belief, Primecare Medical of New York, Inc. is a domestic business

          corporation doing business in New York with an agent for the service of process located in Vestal,

          New York and providing services in the State of New York.




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              20. Upon information and belief, Primecare Medical, Inc., is a foreign professional corporation

          incorporated in Pennsylvania and authorized to do business in New York and with certain

          minimum contacts to New York State including providing medical services in New York State in

          accordance with the above contract.

              21. Upon information and belief, employees of Primecare Medical of New York, Inc. and

          Primecare Medical, Inc. were under the supervision of the Defendants.

              22. Upon information and belief, Dr. Ana Natasha Cervantes was and still is a resident of the

          State of New York, and was and still is Chief Psychiatrist at the Niagara Jail and an agent or

          employee of Primecare Medical of New York, Inc. and/or Primecare Medical, Inc., responsible for

          the medical care of decedent.

                                       STATE LAW NOTICES OF CLAIM

              23. On or about April 21, 2022, a Notice of Claim was served on behalf of the Plaintiffs upon

          the Niagara County, Niagara County Sheriff’s Office, and Niagara County Sheriff Michael J.

          Filicetti, in duplicate.

              24. The Notice of Claim sets forth the name and post office address of Plaintiffs’ attorneys, the

          nature of the claim, the time when, the place where, and the manner in which the claims arose,

          together with items of damage then known to exist.

              25. New York General Municipal Law §§ 50-e and 50-h permit municipal defendants to

          conduct a 50-h hearing of claimants, which operates as a precondition to suit, unless waived by

          the municipal defendants. Defendants exercised their 50-h hearing rights.

              26. At least thirty (30) days have elapsed since the service of the Notice of Claim as aforesaid,

          and Defendants have failed and neglected to adjust or pay the said claim.




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                                              STATEMENT OF FACTS

             27. On or about January 12, 2022, the Plaintiff Decedent Leroy Cheek, IIIs came into the

          custody of Defendants’ County Jail as a result of an arrest, and became a pretrial detainee of the

          County, Filicetti, and the Niagara County Jail, to which various duties of care where then assumed

          by the aforesaid.

             28. Upon information and belief, by January 12, 2022, or soon thereafter, staff at the Niagara

          County Jail became associated and familiar with Plaintiff Decedent’s medical file and/or records,

          including the fact that he had high risk factors, mental health and potential suicidal issues.

             29. Defendants consistently denied Plaintiff Decedent Leroy Cheek, IIIs appropriate medical

          attention in relation to his mental health.

             30. Plaintiff Decedent Leroy Cheek, IIIs’ serious deteriorating mental health was a condition

          of urgency, and one that if not appropriately treated, may result in death, degeneration, or extreme

          pain, which left unattended could result in further unnecessary injury, or as here, death.

             31. Defendants failed to properly diagnose Plaintiff’s Decedent, Leroy Cheek, III, for his

          mental health conditions.

             32. Defendants and others in the employ or subordinates of the County and/or Filicetti failed

          to refer Plaintiff’s Decedent to a hospital relative to and/or to administer medication to assist his

          mental health conditions.

             33. Upon information and belief, despite the high-risk assessment of Plaintiff Decedent, the

          suicide threats potentially expressed, and/or the appearance of decomposition, Plaintiff Decedent

          was not properly examined by a physician.

             34. Upon information and belief, Defendants were aware of ongoing issues involving inmate

          suicide attempts and failed to properly address the same. See Sonberg v. Niagara Cty. Jail Med.




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          Dep't Head, No. 08-CV-0364S(Sr) (W.D.N.Y. 2010); Inmate Death of Harold G. Case (2012);

          Inmate Death of Tommie Lee Jones Jr.; Inmate Death of Daniel Pantera; Inmate Death of Jeffrey

          Joyes (2021).

             35. Considering the prior prisoner suicide attempts and death(s), Defendants had actual

          knowledge that prisoners faced a substantial risk of serious harm and disregarded that risk by

          failing to take appropriate actions that would abate such concern.

             36. After the aforementioned suicide deaths or attempts mentioned above, Defendants failed

          to implement satisfactory procedures, policies, and training measures to prevent further deaths.

             37. Upon information and belief, County and Filicetti enacted, implemented, or enforced

          restrictions on access to the Jail facility for all non-personnel civilians as a result of the public

          health crisis caused by the Covid-19 respiratory virus.

             38. The period in which no outside visitors were allowed within Niagara County Jail covered

          the time that Leroy Cheek, III was in the custody of Niagara County Jail, meaning that no outsiders

          were allowed within the facility during the time of his incarceration.

             39. In addition to these restrictions related to Covid-19 on inmate access to the civilian

          population that applied to Plaintiff Decedent, upon information and belief, he was also placed on

          further restrictions that segregated him from the rest of the inmate population.

             40. Upon information and belief, while in Defendants’ custody and care, Plaintiff Decedent

          was provided and prescribed Prazosin, a blood pressure medication commonly prescribed to treat

          PTSD nightmares, despite knowledge that the same had side effects worsening PTSD nightmares,

          and ultimately causing suicidal ideations.

             41. Upon information and belief, Plaintiff Decedent was prescribed and provided the Prazosin

          by Defendant Dr. Ana Natasha Cervantes.




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              42. Upon information and belief, Plaintiff Decedent was improperly prescribed and provided

          Prazosin of an improper dosage by Defendant Dr. Ana Natasha Cervantes.

              43. Upon information and belief, while so incarcerated, Plaintiff Decedent while under the sole

          and exclusive custody of Defendants, did not receive his required medications and/or received

          medications that Defendants knew or should have known would cause Plaintiff Decedent’s mental

          health to further deteriorate.

              44. Defendants were or should have been aware that inmates with a prior history of self-

          injurious behavior and suicidal thoughts pose a heightened risk for suicide.

              45. Defendants were or should have been aware that inmates with mental health disorders pose

          an increased risk of suicide.

              46. Upon information and belief, Plaintiff Decedent had a history of self-injurious behavior, as

          well as suicidal ideations and suicide attempts. Defendants, as well as their employees, agents and

          contractors had actual and constructive knowledge of said history of self-injurious behavior, as

          well as suicidal ideations and suicidal attempts.

              47. That despite the above knowledge, Defendants provided an improper medication and

          improper dosage of medication.

              48. That by his symptoms and evaluations conducted by Defendants herein, Plaintiff Decedent

          exhibited several serious medical and mental health conditions that demonstrated an increased risk

          of suicide.

              49. Upon information and belief, as described herein, Defendants exhibited deliberate

          indifference to Plaintiff Decedent’s medical and mental health needs, and Plaintiff Decedent was

          caused to commit suicide, and suffer from physical injury, mental and emotional stress and pain

          and suffering.




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              50. Upon information and belief, Defendants were directly warned of the suicidal inclinations

          of Plaintiff Decedent immediately prior to his death.

              51. Upon information and belief, on February 26/27, 2022, Plaintiff Decedent succumbed to

          death as a result of suicide.

              52. The County is charged by the Laws of the State of New York with a duty to maintain

          Niagara County Jail, to provide adequate supervision to prevent harm to persons housed within

          the facility, and to train employees, staff and/or other subordinates rendering supervision or

          medical/psychiatric care and treatment at the Niagara County Jail, and as such is responsible for

          the health and safety of those incarcerated or detained at the Niagara County Jail.

              53. The monitoring requirements of inmates are promulgated in part by the Commission of

          Corrections, Title 9 of the New York Code of Rules and Regulations, and the Commissioner of

          Corrections Chairman’s Memoranda, all of which were binding on Defendants, including John

          and/or Jane Doe(s), said being Niagara County Sheriff Deputies and John and/or Jane Doe(s), said

          being Niagara County Jail Personnel.

              54. Upon information and belief, while Plaintiff’s Decedent Leroy Cheek, III was under

          constant watch or constant supervision as the result of his various assessments made upon intake,

          Filicetti’s staff and subordinates, including but not limited to John and/or Jane Doe(s), said being

          Niagara County Sheriff Deputies or County Jail Personnel, pursuant to General Orders of the

          Sheriff, New York Code of Rules and Regulations including Title 9 Part 7003, and the Commission

          of Correction’s Memorandum of December 21, 2016 interpreting same, should have visually

          observed decedent without interruption at a post in close proximity to decedent, to notate every

          fifteen minutes in a logbook the activities of decedent for the preceding fifteen minutes, and to

          periodically verify signs of decedent’s life, such as movement or audible speech, breathing, or




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          snoring, all of which observations were required to have been notated in the logbook, which these

          defendants failed to do.

              55. As per internal policies of the County and Filicetti, supervision of inmates is required for

          those situated like Plaintiff Decedent just prior to his death.

              56. While Plaintiff Decedent was in custody, the County, Filicetti, and staff and subordinates,

          including but not limited to Officers and Personnel, should have maintained supervision of Leroy

          Cheek, III, and prevented deadly harm upon his person.

              57. Upon information and belief, the County and Filicetti negligently failed to train and

          supervise, and negligently retained officers and personnel with respect to compliance with the

          State, County, and Filicetti’s general orders concerning housing unit supervision, assessments,

          mental health treatment, searches, and compliance with Title 9 of the New York Code of Rules

          and Regulations, including interpretive guidance of these rules by the Commission of Corrections

          and the Commission of Corrections’ Chairman’s Memoranda, all binding upon the Defendants.

              58. The County and Filicetti’s failures to train included failing to train said defendant officers

          and personnel to verify signs of life of inmates under supervision in compliance with Commission

          of Corrections authority and provide adequate, prompt, and appropriate mental health treatment.

              59. The Defendants’ failures to train contributed to said failures to verify Plaintiff Decedent’s

          signs of life, failing to post a position adequately close to the cell of decedent, and failure to prevent

          suicide.

              60. Upon information and belief, Defendants conducted supervisory visits of the cells, failing

          to inquire about, request, or undertake to verify signs of life of Plaintiff’s Decedent.

              61. Upon discovery of the unresponsive Plaintiff Decedent, Defendants’ sought medical care,

          but decedent was pronounced dead at the scene.




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             62. The unlawful and unconstitutional acts of Defendants were the proximate cause of Leroy

          Cheek, III’s death.

             63. Plaintiff institutes the instant action for deprivation of civil rights, negligence, medical

          malpractice, and wrongful death, as outlined below.

             64. Defendants evidenced their deliberate indifference by allowing persons suffering from a

          mental health episode or condition to cause himself grave harm, by failing to identify Plaintiff

          Decedent’s need for medical care, by failing to verify signs of life periodically, and failing to

          maintain supervision during a time when Defendants were obligated to observe Plaintiff decedent,

          at a post in close proximity to Plaintiff Decedent Leroy Cheek, III while he was in his cell.

            AND AS FOR A FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR
          DELIBERATE INDIFFERENCE TO SERIOUS MEDICAL NEEDS IN VIOLATION OF
           PLAINTIFF DECEDENT’S FOURTEENTH AMENDMENT RIGHT TO ADEQUATE
             MEDICAL CARE AND TREATMENT, ACTIONABLE UNDER 42 U.S.C. § 1983

             65. Plaintiffs, hereby repeats and re-alleges each factual allegation contained in the preceding

          paragraphs, “1” through “64,” with the same force and effect as if set forth fully herein.

             66. As a County detainee, Plaintiff Decedent was entitled to adequate medical care and

          treatment.

             67. Notwithstanding the medically serious condition of Plaintiff Decedent, Defendants, being

          aware of decedent’s deteriorating mental health, dependence, and symptoms and actions consistent

          with mental health issues, recklessly and with deliberate indifference ignored Plaintiff Decedent’s

          needs, failed to monitor him despite being obligated to do the same, and recklessly took no action

          to summon or obtain appropriate medical assistance for Plaintiff Decedent.

             68. It was with recklessness and with deliberate indifference that during the time period of

          restricted civilian visitation policies due to Covid-19, and while Leroy Cheek, III was placed in a

          specific cell, he was able to commit suicide.



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             69. Defendants acted with deliberate indifference to Plaintiff Decedent Leroy Cheek, IIIs’

          serious medical needs in failing to adequately address his mental health while in Defendants’

          custody, and failing to adequately identify his need for prompt medical attention.

             70. As a result of the deliberate indifference of the Defendants, the health and status of Plaintiff

          Decedent was not checked on or inquired into until he was later discovered unresponsive on or

          about February 27, 2022, all of which proximately led to and caused his injuries and death.

             71. Defendants precluded Plaintiff Decedent from appropriate due process in delaying his

          medical treatment.

             72. Wherefore, Plaintiffs pray for judgment as herein set forth below.

            AND AS FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS COUNTY
             AND FILICETTI FOR MAINTAINING POLICIES, CUSTOM, AND PRACTICES
            CONSTITUTING DELIBERATE INDIFFERENCE IN VIOLATION OF PLAINTIFF
            DECEDENT’S FOURTEENTH AMENDMENT RIGHTS, ACTIONABLE UNDER 42
                                       U.S.C. § 1983

             73. Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

          paragraphs, “1” through “72,” with the same force and effect as if set forth fully herein.

             74. The County and Filicetti maintained a policy, custom, or practice of deliberate indifference

          to the hiring, supervision, or discipline of its employees knowing that those employees would come

          into contact with inmates, like Plaintiff Decedent.

             75. At all times mentioned herein, Defendants County, Filicetti, and their employees, were

          public actors, a municipality and its law enforcement/administrative arm, acting under color of

          state law. Officials within the County or the office of Filicetti were responsible for establishing the

          municipal policies relative to procuring medical care and treatment of pretrial detainees in the

          custody of Defendants’, and/or a practice so widespread and consistent that, although not expressly

          authorized, constituted a custom or usage of which a supervising policymaker of the County and/or




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          Filicetti must have been aware, and/or the failure of policymakers of the County and/or Filicetti to

          provide adequate training or supervision to subordinates to such an extent that it amounts to

          deliberate indifference to the rights of those who come into contact with the municipal and/or law

          enforcement employees, and that, as a result of the policies, customs, or practices of the County

          and/or Filicetti, Defendants caused the deprivation of Plaintiff’s decedent’s access to adequate

          medical care and treatment, in violation of his Fourteenth Amendment right to same, where the

          County and/or Filicetti, by and through their subordinates and employees, whom deliberately

          ignored various warnings raised by various persons that decedent was in need of immediate

          medical assistance while suffering from a serious medical condition or conditions, and that the

          County and/or Filicetti ignored the serious medical condition/s and failed to act, resulting in

          Plaintiff Decedent’s pain and suffering, and ultimate death.

             76. As a result of the policies, customs, or practices of the County and Filicetti, Defendants

          caused the deprivation of Plaintiff Decedent’s access to adequate medical care and treatment in

          violation of his Fourteenth Amendment right to same.

             77. County and Filicetti, by and through their subordinates and employees, ignored various

          warnings that decedent was in need of immediate medical assistance while suffering from a serious

          mental health medical condition, or conditions, resulting in Plaintiff decedent’s pain and suffering,

          and ultimate death.

             78. As a result of the policies, customs, or practices of the County and Filicetti, and through

          their subordinates and employees, failed in adequately screening risks of suicides.

             79. As a result of the policies, customs, or practices of the Count and Filicetti, and through

          their subordinates and employees, failed in properly and adequately monitor Plaintiff Decedent.




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             80. County and Filicetti, and through their subordinates and employees, deliberately ignored

          various warnings that Plaintiff Decedent was in need of immediate medical assistance while

          suffering from a serious medical condition, or conditions, resulting in Plaintiff decedent’s pain and

          suffering, and ultimate death.

             81. As a result of the policies, customs, or practices of the County and Filicetti, and through

          their subordinates and employees, failed in properly attended to Plaintiff Decedent’s suicide

          attempt, or timely call for appropriate medical attention.

             82. Wherefore, Plaintiffs pray for judgment as herein set forth below.

          AND AS FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANTS COUNTY AND
            FILICETTI FOR NEGLIGENCE IN HIRING, TRAINING, AND SUPERVISION,
           CONSTITUTING DELIBERATE INDIFFERENCE IN VIOLATION OF PLAINTIFF
           DECEDENT’S FOURTEENTH AMENDMENT RIGHTS, ACTIONABLE UNDER 42
                                       U.S.C. § 1983

             83. Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

          paragraphs, “1” through “82,” with the same force and effect as if set forth fully herein.

             84. At all times mentioned herein, defendants County and Filicetti were responsible for

          establishing the municipal policies relative to procuring medical care and treatment of pretrial

          detainees in the custody of Defendants, and/or practices so widespread and consistent that,

          although not expressly authorized, constituted a custom or usage of which a supervising policy

          maker of the County and Filicetti must have been aware. The policymakers failed to provide

          adequate training or supervision to subordinates to such an extent that it amounts to deliberate

          indifference to the rights of those who come into contact with the municipal and/or law

          enforcement employees.

             85. County and Filicetti’s deficiencies in hiring, training, and adequately supervising their

          employees was highly likely to inflict the particular injury suffered by the Plaintiffs.




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             86. As alleged herein and above, Defendants County and Filicetti failed to hire, supervise and

          train Officers and Personnel to adequately screen inmates at the Niagara County Jail.

             87. Due to Defendants County and Filicetti’s failure to hire, supervise and train Officers and

          Personnel, this resulted the suicide at issue of Plaintiff Decedent.

             88. Defendants further maintained policies and practices insufficient to mitigate the serious

          risk to the safety and security of staff, inmates, and the public during serious mental health

          concerns. This is a known risk to the County and Filicetti.

             89. As alleged herein and above, Defendants County and Filicetti failed to hire, supervise and

          train Officers and Personnel to adequately address an inmates’ medical needs, including the issues

          Plaintiff Decedent suffered.

             90. Identifying and adequately addressing the medical needs of inmates requires specialized

          training, and upon information and belief, Defendants County and Filicetti failed to hire the

          appropriate personnel for this role.

             91. Defendants County and Filicetti, knew and/or should have known that a failure to

          adequately train, supervise and monitor the conduct of Officers and Personnel would likely result

          in unreasonable danger to inmates.

             92. Wherefore, Plaintiffs pray for judgment as herein set forth below.

           AND AS FOR A FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR
            STATE LAW NEGLIGENCE IN FAILING TO PROPERLY TREAT DECEDENT’S
             MENTAL HEALTH WHILE IN THE NIAGARA COUNTY JAIL RESULTING IN
                       INJURIES AND DEATH TO PLAINTIFF DECEDENT

             93. Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

          paragraphs, “1” through “92,” with the same force and effect as if set forth fully herein.

             94. Defendants, though their acts and omissions, failed to properly screen inmates to Niagara

          County Jail, with failures at the initial entry assessment and any period thereafter.



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             95. Defendants’ failure to prevent suicide lead to the death of Plaintiff Decedent.

             96. Defendants’ failure to assess and treat Plaintiff Decedent’s mental health lead to the death

          of Plaintiff Decedent.

             97. It was through these acts and omissions that Plaintiff Decedent caused himself grave

          personal harm.

             98. Wherefore, Plaintiffs pray for judgment as herein set forth below.

          AND AS FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANTS COUNTY AND
           FILICETTI FOR STATE LAW NEGLIGENCE UNDER NEW YORK CORRECTION
                                       LAW § 500-C

             99. Plaintiffs hereby repeats and re-alleges each factual allegation contained in preceding

         paragraphs, “1” through “98,” with the same force and effect as if set forth fully herein.

             100.          Plaintiff Decedent entered the custody of County and Filicetti, on or about January

         12, 2022. At that point, County and Filicetti had a duty under New York Correction Law § 500- C

         to safely keep and make necessary medical care available to Plaintiff Decedent.

             101.          As a result of the negligent training, supervision, and retention of Officers and

         Personnel who worked in the Niagara County Jail, who negligently disregarded their duties, rules,

         and regulations in the supervision of Plaintiff Decedent, Plaintiff Decedent suffered the aforesaid

         injuries, and ultimately succumbed to his injuries.

             102.          Wherefore, Plaintiffs pray for judgment as herein set forth below.

             AND AS FOR A SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR
                                  MEDICAL MALPRACTICE

             103.          Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

         paragraphs, “1” through “102,” with the same force and effect as if set forth fully herein.

             104.          Upon admission of Plaintiff Decedent to the Niagara County Jail, a jail that was

         maintained by the County and Filicetti, the aforesaid Defendants had a statutory duty, under New



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          York Correction Law § 501 to provide a jail physician and/or medical care and treatment to

          Plaintiff Decedent while he was in the custody of the County and Filicetti.

             105.        Employees, independent contractors, and/or other subordinates and/or those

          rendering medical care to Plaintiff Decedent, including Defendants in fulfillment of the County’s

          duty to provide medical care and treatment to Plaintiff Decedent, Defendant Dr. Ana Natasha

          Cervantes, Defendant Primecare Medical of New York, Inc. and/or Defendant Primecare Medical,

          Inc., negligently failed to diagnose Plaintiff Decedent’s mental health condition.

             106.        Defendants and others in the employ or subordinates of the County, Filicetti,

          Defendant Dr. Ana Natasha Cervantes, Defendant Primecare Medical of New York, Inc. and/or

          Defendant Primecare Medical, Inc., failed to refer Plaintiff Decedent to a hospital relative to and/or

          administer the appropriate treatment for this mental health decomposition.

             107.        Furthermore, Defendants, and/or others in the employ and acting in furtherance of

          the duties of the County, Filicetti, Defendant Dr. Ana Natasha Cervantes, Defendant Primecare

          Medical of New York, Inc. and/or Defendant Primecare Medical, Inc., had actual and/or

          constructive knowledge of Plaintiff Decedent’s deteriorating mental health, failed to render

          adequate medical treatment, failed to refer him to a hospital, or otherwise properly monitor his

          condition.

             108.        Defendants and/or others in the employ and acting in furtherance of the duties of

          Defendants jointly and/or severally failed to refer the Plaintiff Decedent to a hospital.

             109.        Defendants knew or should have known that Plaintiff Decedent was experiencing

          a mental health crisis while confined within Niagara County Jail.

             110.        Additionally, the failures of Defendants, and others in the employ or subordinates

          of County, Filicetti, Defendant Dr. Ana Natasha Cervantes, Defendant Primecare Medical of New




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          York, Inc. and/or Defendant Primecare Medical, Inc., to refer Plaintiff Decedent to a higher level

          of care resulted in Plaintiff Decedent not receiving appropriate medical intervention and ultimately

          his death, as further evidenced, in part, by violations of 9 NYCRR § 7010.1(b), which requires

          prompt screening to identify serious or life-threatening medical conditions.

              111.        As a result of these failures constituting medical malpractice of Defendants, and/or

          others in the employ and acting in furtherance of the duties of County, Filicetti, Defendant Dr. Ana

          Natasha Cervantes, Defendant Primecare Medical of New York, Inc. and/or Defendant Primecare

          Medical, Inc., Plaintiff Decedent was improperly and inadequately treated, and was otherwise left

          untreated.

              112.        As a result of the joint and several failures of Defendants and others in the employ

          of and subordinates of County, Filicetti, Defendant Dr. Ana Natasha Cervantes, Defendant

          Primecare Medical of New York, Inc. and/or Defendant Primecare Medical, Inc., concerning the

          provision of medical care and treatment to Plaintiff Decedent, Leroy Cheek, IIIs was caused to die

          and sustain great pain and suffering and physical anguish.

              113.        Upon information and belief, the County, Filicetti, Defendant Dr. Ana Natasha

          Cervantes, Defendant Primecare Medical of New York, Inc. and/or Defendant Primecare Medical,

          Inc., engaged in a negligent practice in failing to provide and make available an appropriate jail

          physician, as it was statutorily obligated to, as either a matter of practice or in the instant case.

              114.        Upon information and belief, Defendants, by and through their subordinates and/or

          physicians and other staff failed to ensure the supervision of Plaintiff Decedent, Leroy Cheek, III,

          resulting in his death.

              115.        The County is vicariously liable for the negligence of its subordinates as set forth

          in the preceding paragraphs.




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             116.         Wherefore, Plaintiffs pray for judgment as herein set forth below.

           AND AS FOR A SEVENTH CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR
                                   WRONGFUL DEATH

             117.         Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

         paragraphs, “1” through “116,” with the same force and effect as if set forth fully herein.

             118.         Plaintiff Decedent left surviving his four minor children.

             119.         Plaintiff Decedent’s next of kin were dependent upon Decedent for support and

         maintenance, which they are now deprived of as a result of the aforesaid incident.

             120.         As a result of the aforesaid incident, medical, funeral, and burial expenses have

         been incurred.

             121.         By reason of Decedent’s death caused by the negligence and reckless disregard of

         the Defendants as aforesaid, his distributes and next of kin have sustained damages in an amount

         that exceeds the jurisdictional limits of all lower courts that would otherwise have jurisdiction.

             122.         Wherefore, Plaintiffs pray for judgment as herein set forth below.

            AND AS FOR AN EIGTH CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR
            NEGLIGENT HIRING, TRIAINING AND RETENTION OF EMPLOYEES UNDER
                                    NEW YORK LAW

             123.         Plaintiffs hereby repeat and re-allege each factual allegation contained in preceding

          paragraphs, “1” through “122,” with the same force and effect as if set forth fully herein.

             124.         The incident hereinbefore described and the resultant injuries and damages were

          caused as a result of the negligent, careless, reckless and/or unlawful conduct on the part of the

          Defendants, more particularly, in negligently handling Plaintiff Decedent, causing serious physical

          injury upon plaintiff’s decedent pursuant to New York State common law.




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              125.       As alleged herein and above, Defendants failed to hire, supervise and train deputies

          and/or officers and/or medical professionals to adequately screen inmates at the Niagara County

          Jail.

              126.       Due to Defendants failure to properly hire, supervise and train deputies and/or

          officers and/or medical professionals, this resulted the suicide at issue of Plaintiff Decedent.

              127.       Defendants further maintained policies and practices insufficient to mitigate the

          serious risk to the safety and security of staff, inmates, and the public during serious mental health

          concerns.

              128.       As alleged herein and above, Defendants failed to hire, supervise and train Officers

          and Personnel to adequately address an inmates’ medical needs, including the issues Plaintiff

          Decedent suffered.

              129.       Identifying and adequately addressing the medical needs of inmates requires

          specialized training, and upon information and belief, Defendants failed to hire the appropriate

          personnel for this role.

              130.       Defendants knew and/or should have known that a failure to adequately train,

          supervise and monitor the conduct of Officers and Personnel would likely result in unreasonable

          danger to inmates.

              131.       Defendants herein are negligent in failing and omitting to ensure its deputies and/or

          officers and/or medical professionals used appropriate care and discretion; in failing and omitting

          to properly and adequately instruct, supervise and train its deputies and/or officers; and in

          negligently hiring.

              132.       Upon information and belief, Defendants affirmatively created the dangerous and

          defective condition described herein.




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             133.       Wherefore, Plaintiffs pray for judgment as herein set forth below.

             134.       As a result of the foregoing causes of action, Plaintiffs claim punitive damages

          against the Defendants in an amount that exceeds the jurisdictional requirements of all lower

          Courts that would otherwise have jurisdiction.

             135.       This action falls within one or more of the exceptions set forth in CPLR § 1602.

                                                 PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for relief as follows:
               1. For general damages in a sum according to proof;
               2. For special damages in a sum according to proof;
               3. For punitive damages against the individual named Defendants in their individual
                  capacities in a sum according to proof;
               4. For reasonable attorney’s fees pursuant to 42 U.S.C. Section 1988;
               5. For any and all statutory damages allowed by law;
               6. For costs of suit herein incurred; and
               7. For such other and further relief as this Court deems just and proper.

                                                                PENBERTHY LAW GROUP LLP
             DATED: May 25, 2023
                    Buffalo, New York                           By:_s/Brittanylee Penberthy, Esq._______
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